Case 2:15-cr-20336-RHC-RSW ECF No. 54 filed 05/31/19            PageID.272    Page 1 of 7



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
______________________________________________________________________

UNITED STATES OF AMERICA,
        Plaintiff,
v.                                                     Case No. 15-20336
DERAL DEWAYNE DORSEY,
     Defendant.
__________________________________/
  OPINION AND ORDER GRANTING DEFENDANT’S MOTIONS FOR LEAVE TO
   SUPPLEMENT, DENYING DEFENDANT’S § 2255 MOTION TO VACATE HIS
 SENTENCE, DENYING A CERTIFICATE OF APPEALABILITY, AND DENYING AS
      MOOT DEFENDANT’S MOTION FOR A RESENTENCING HEARING

        Pursuant to a Rule 11 agreement, Deral Dewayne Dorsey pleaded guilty to a

being a felon in possession of a firearm in violation of 18 U.S.C. § 922(g)(1). (ECF No.

27.) He was sentenced to 57 months imprisonment. (ECF No. 35.) Before the court is

Defendant’s Motion to Vacate Sentence under 28 U.S.C. § 2255. (ECF No. 38.)

        The government filed a response (ECF No. 46), and Defendant filed a reply (ECF

No. 47). Defendant also filed a Motion for Leave to Supplement his § 2255 motion (ECF

No. 42), Motion for Leave to Supplement his reply to the government’s response (ECF

No. 51), and Motion for a Resentencing Hearing (ECF No. 52). The court will grant

Defendant’s motions to supplement and consider his supplemental briefing (ECF Nos.

44, 50) in its analysis of the § 2255 motion.

        For the reasons stated below, Defendant’s § 2255 Motion to Vacate Sentence

will be denied. Consequently, his Motion for a Resentencing Hearing will be denied as

moot.
Case 2:15-cr-20336-RHC-RSW ECF No. 54 filed 05/31/19            PageID.273     Page 2 of 7



                                   I. BACKGROUND

      The following facts are taken from Defendant’s sentencing memorandum and

request for downward variance. (ECF No. 31.) Police officers performed two controlled

buys of heroin using a confidential informant at a residence in Westland, Michigan. (Id.,

PageID.164–65.) They subsequently obtained a search warrant for the residence, which

they executed on December 4, 2014, after which they arrested Defendant. (Id.) Officers

recovered five firearms inside the house. (Id., PageID.165.) During the search, officers

also found .8 grams of heroin on Defendant’s person, as well as some suspected

marijuana. (Id.) A small amount of suspected Xanax was found elsewhere in the house.

(Id.) Defendant admitted to the police that he snorted heroin. (Id., PageID.165, 166.)

The heroin was chemically tested. (Id., PageID.166.)

      This account of the facts aligns with that in the Rule 11 plea agreement. (ECF

No. 27.) The “factual basis for guilty plea” section explains that Defendant confirmed he

lived at the residence searched and kept some of the firearms for protection. (Id.,

PageID.130.) The “relevant conduct” section details that Defendant consented to a strip

search that day, approximately one gram of heroin was found in Defendant’s groin area,

and Defendant later confirmed that he sold heroin. (Id., PageID.133.)

      The Rule 11 agreement indicates that the government and Defendant disputed

whether Defendant qualified for a four-point enhancement under § 2K2.1(b)(6)(B) of the

U.S. Sentencing Guidelines. (Id., PageID.131.) As a result, the parties calculated

different guideline ranges. The government proposed 46 to 57 months; Defendant

suggested 33 to 41 months. (Id.) Defendant, through his counsel, argued in his

sentencing memorandum and request for downward variance that there was insufficient



                                            2
Case 2:15-cr-20336-RHC-RSW ECF No. 54 filed 05/31/19               PageID.274      Page 3 of 7



evidence to support the four-point enhancement. (ECF No. 31, PageID.165–67.)

Ultimately, he was sentenced to 57 months imprisonment. (ECF No. 35.)

                                       II. STANDARD

       Under § 2255, a prisoner sentenced by a federal court may “move the court

which imposed the sentence to vacate, set aside or correct the sentence” on the

grounds “that the sentence was imposed in violation of the Constitution or laws of the

United States, or that the court was without jurisdiction to impose such sentence, or that

the sentence was in excess of the maximum authorized by law, or is otherwise subject

to collateral attack.” 28 U.S.C. § 2255(a). This statute “is not a substitute for a direct

appeal,” and “a prisoner must clear a significantly higher hurdle than would exist on

direct appeal” to merit relief. Regalado v. United States, 334 F.3d 520, 528 (6th Cir.

2003) (citing United States v. Frady, 456 U.S. 152, 166–68 (1982)).

       Defendant grounds his motion upon the alleged inadequacy of his legal

representation. To establish ineffective assistance of counsel under the Sixth

Amendment, Defendant must satisfy the two-prong test set forth in Strickland v.

Washington, 466 U.S. 668 (1984). First, Defendant must show that his counsel’s

performance was deficient, which “requires a showing that counsel made errors so

serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant by

the Sixth Amendment.” Id. at 687. Next, Defendant “must show that the deficient

performance prejudiced the defense.” Id.

                                      III. DISCUSSION

       Defendant argues that he received ineffective assistance of counsel based on his

attorney’s failure to: object to the four-point enhancement under § 2K2.1(b)(6)(B);



                                              3
Case 2:15-cr-20336-RHC-RSW ECF No. 54 filed 05/31/19             PageID.275       Page 4 of 7



subpoena witnesses to verify the heroin purchases; subpoena a drug crime lab

technician to testify regarding the heroin; and investigate the location of law

enforcement individuals, as well as the existence of a police report and lab report

confirming the substance seized was heroin. (ECF No. 38, PageID.201; ECF No. 44,

PageID.227–29.) He cites Alleyne and Mathis to contest the heroin found on his person

during the search being used as evidence to support the enhancement and argues that

he is “actually innocent” of the enhancement because he was not convicted of a drug

offense based upon the heroin. (ECF No. 38, PageID.202, 210, 212; ECF No. 44,

PageID.230–31; ECF No. 47, PageID.247–48.) Additionally, Defendant argues that the

presentence report incorrectly computed his guideline range based upon his criminal

history. (ECF No. 38, PageID.211.) The court will address each argument in turn.

       First, Defendant’s ineffective assistance of counsel claim based upon his

attorney’s failure to object to the four-point enhancement is without merit because it is

contradicted by the record. Counsel did object to the enhancement in Defendant’s

sentencing memorandum and request for downward variance, arguing that there was

insufficient evidence to support it. (ECF No. 31, PageID.165–67.) This objection is also

noted in the plea agreement, which includes that “Defendant contends that he does not

qualify for the four-point enhancement under U.S.S.G. § 2K2.1(b)(6).” (ECF No. 27,

PageID.131.) Because counsel objected to the enhancement, this argument fails.

       Next, Defendant argues that his counsel was ineffective in that he did not call

witnesses and seek police and lab reports to verify that the substance found on his

person was heroin. As the government points out, however, Defendant admitted that the

substance was heroin. He agreed to the Rule 11 which included as “relevant conduct”



                                             4
Case 2:15-cr-20336-RHC-RSW ECF No. 54 filed 05/31/19             PageID.276     Page 5 of 7



that two controlled buys of heroin were conducted at Defendant’s house, one gram of

heroin was found on Defendant’s person when he was searched on December 4, 2014,

and Defendant confirmed he sold heroin. (ECF No. 27, PageID.132–33.) While the

agreement indicates that Defendant contested whether he qualified for the

enhancement, it did not state that Defendant contested the heroin-related facts.

Defendant describes as much in his sentencing memorandum, including that the heroin

(unlike the other suspected drugs) underwent chemical analysis. (ECF No. 31,

PageID.165.) Counsel was not deficient for failing to seek additional proof regarding the

heroin because Defendant admitted its existence in his plea.

       Defendant’s references to Alleyne and Mathis do not alter this conclusion. In

Alleyne v. United States, 570 U.S. 99 (2013), the Supreme Court held “that any fact that

increases the mandatory minimum is an ‘element’ that must be submitted to the jury.”

Id. at. 103. Alleyne is inapplicable to the present case, which did not involve a

mandatory minimum, because “judicial factfinding that affects the guidelines calculation

does not fit within the category of facts required under Alleyne to be found by a jury

beyond a reasonable doubt.” Rogers v. United States, 561 F. App’x 440, 444 (6th Cir.

2014). Also inapplicable is Mathis v. United States, 136 S. Ct. 2243 (2016), which dealt

with defining prior convictions for a “violent felony” under the Armed Career Criminal

Act.

       Similarly, Defendant’s “actual innocence” argument misunderstands the law.

Under § 2K2.1(b)(6)(B) of the U.S. Sentencing Guidelines, there is a four-level increase

to the offense level if the defendant “used or possessed any firearm or ammunition in

connection with another felony offense.” This enhancement applies “regardless of



                                             5
Case 2:15-cr-20336-RHC-RSW ECF No. 54 filed 05/31/19               PageID.277     Page 6 of 7



whether a criminal charge was brought, or a conviction obtained” for the other felony

offense. U.S. Sentencing Guidelines Manual § 2K2.1(b)(6)(B) cmt. n.14(C). The fact

that Defendant was not convicted of a felony offense based upon the heroin in this case

does not preclude evidence of his commission of the same being used to support the

enhancement.

        Finally, Defendant’s claim that his criminal history was miscalculated altering his

guideline range is not supported by the record and is not grounds for relief under

§ 2255. The sentencing worksheet attached to his plea agreement indicates that he

received two points—not five—for prior offenses. (ECF No. 27, PageID.143.) This

placed Defendant in Criminal History Category II, which led to a guideline range of 46 to

57 months. (Id., PageID.144–45.) Regardless of any miscalculations in the presentence

report, Defendant’s guideline range was correctly calculated on the worksheet attached

to his plea agreement and he was sentenced within that range. This argument fails as

well.

                                     IV. CONCLUSION

        Because Defendant has failed to make the required showing to establish a claim

for ineffective assistance of counsel or other error meriting relief, the court will deny his

Motion to Vacate. The court will also deny a certificate of appealability because jurists of

reason would not debate the court’s analysis with respect to Defendant’s claim.

28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84 (2000). Accordingly,

        IT IS ORDERED that Defendant’s Motion for Leave to Supplement his § 2255

motion (ECF No. 42) and Motion for Leave to Supplement his reply (ECF No. 51) are

GRANTED.



                                              6
Case 2:15-cr-20336-RHC-RSW ECF No. 54 filed 05/31/19                        PageID.278   Page 7 of 7



        IT IS FURTHER ORDERED that Defendant’s § 2255 Motion to Vacate Sentence

(ECF No. 38) is DENIED and a Certificate of Appealability are DENIED.

        IT IS FURTHER ORDERED that Defendant’s Motion for Resentencing Hearing

(ECF No. 52) is DENIED AS MOOT.

                                                          s/Robert H. Cleland                     /
                                                          ROBERT H. CLELAND
                                                          UNITED STATES DISTRICT JUDGE
Dated: May 31, 2019

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, May 31, 2019, by electronic and/or ordinary mail.

                                                           s/Lisa Wagner                          /
                                                           Case Manager and Deputy Clerk
                                                           (810) 292-6522
S:\Cleland\Cleland\JUDGE'S DESK\C2 ORDERS\15-20336.DORSEY.Deny2255.2.docx




                                                     7
